Case 1:13-cv-01207-EGS Document 9 Filed 08/09/13 Page 1 of 1

UNITED STATES DISTRICT C()URT FOR THE DISTRICT OF COLUMBIA

 

Trijicon, Inc., et al.

 

)
)
)
Plaintiff(s) )
§ Case NO.: 1=13-cv-01207
v. )
Kathleen Sebelius, et al. )
)
)
Defendant(s) )
AFFIDAVIT OF SERVICE

 

I, Ted Metzger, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Letter dated August 3, 2013, Sunnnons, Civil Cover Sheet,
Veritied Coniplaint, Certificate Required By LCvR 7.1 of the Local Rules of the United States District Court for the
District of Columbia, Motion for Preliniinary Injunction and Memorandum In Support of LaW In Support, [Proposed]
Order Granting Motion for Preliminary Injunction; and Attachments in the above entitled case.

That l am over the age of eighteen years and am not a party to or otherwise interested in this matter.

That on August 08, 2013 at 4:17 PM, I served Ronald C. Machen, Jr., United States Attol'ney for the District of
Columbia vvith the Letter dated August 8, 2013, Summons, Civil Cover Sheet, Verified Coniplaint, Certificate
Required By LCvR 7.1 of the Locai Rules of the United States District Co_urt for the District of Columbia, Motion for
Prelirninary Injunetion and Mernorandum In Support of Law In Support, [Proposed] Order Granting Motion for
Preliminary Injunction; and Attachments at 501 3rd Street, NW, Washington, DC 20001 by serving Cynthia Parker,
Pal'aiegal Specialist, who stated that he/ she is authorized to accept service

Cynthia Parker is described herein:
Gender: Fernale Race/Skin: Black Hair: Black Age: 50 Height: 5'6" Weight: 250

I declare under penalty of perjury that I have read the forego' - - information co tained in the Affidavit of Service and
that the fact stated m it are true and correct

043

    

Execute on:

    

1827 18th Street, NW
Washington, DC 20009-5526
(202) 667-0050

ID: 13 -094648 7 Client Reference: N.’A

